       Case 1:17-cv-02559-KBJ-DAR Document 22 Filed 05/14/19 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 KOCH MINERALS SÀRL
 Chemin Des Primeveres 45
 Fribourg, 1700
 Switzerland

 KOCH NITROGEN INTERNATIONAL SÀRL                         Civil Action No: 17-cv-02559-KBJ
 Chemin de Primeveres 45
 Case Postale 592
 Fribourg, 1701
 Switzerland,

                Plaintiffs,

                   v.

 BOLIVARIAN REPUBLIC OF VENEZUELA;
 Ministerio del Poder Popular para Relaciones
 Exteriores
 Oficina de Relaciones Consulares
 Avenida Urdaneta
 Esquina Carmelitas a Puente Llaguno
 Piso 1 del Edificio Anexo a la Torre MRE
 Caracas, 1010
 República Bolivariana de Venezuela,

                Defendant.


              FOURTH REPORT ON STATUS OF SERVICE OF PROCESS

       In compliance with the Court’s Minute Order of October 24, 2018, Koch Minerals Sàrl

(“KOMSA”) and Koch Nitrogen International Sàrl (“KNI”) (collectively “the Koch Plaintiffs”)

respectfully submit this fourth report to the Court concerning the status of service of process on

the Bolivarian Republic of Venezuela (“Venezuela” or the “Defendant”) in their action to

enforce an international arbitral award (“the Award”) rendered against Venezuela pursuant to the

Convention on the Settlement of Investment Disputes between States and Nationals of Other

States, March 18 1965, 17 U.S.T. 1270 (the “ICSID Convention”):


                                                 1
      Case 1:17-cv-02559-KBJ-DAR Document 22 Filed 05/14/19 Page 2 of 2



       1.      As previously reported to the Court (ECF # 18), Venezuela has now twice been

successfully served pursuant to the Hague Convention on the Service Abroad of Judicial and

Extrajudicial Documents in Civil or Commercial Matters (1965) (“Hague Service Convention”).

       2.      Venezuela, however, has failed to respond within 60 days of service of the Koch

Plaintiffs’ Complaint as required under 28 U.S.C. § 1608(d).

       3.      The ad hoc committee appointed by the Secretary-General of the World Bank’s

International Centre for Settlement of Investment Disputes (“ICSID”) to consider Venezuela’s

challenge to the Award pursuant to Article 52 of the ICSID Convention lifted the stay on

enforcement of the Award on April 1, 2019.

       4.      Accordingly, on May 9, 2019, the Koch Plaintiffs requested (ECF # 21) that the

Clerk enter a default against Venezuela pursuant to Rule 55(a) of the Federal Rules of Civil

Procedure.

       5.      The Koch Plaintiffs will submit a further report to the Court within 60 days as

required by the Court’s Minute Order of October 24, 2018.

Dated: May 14, 2019                                 Respectfully submitted,
New York, New York


                                                    Alex Yanos (Bar No. NY0219)
                                                    Carlos Ramos-Mrosovsky (Bar No. 986363)
                                                    ALSTON & BIRD LLP
                                                    90 Park Avenue
                                                    New York, NY 10016
                                                    Tel: 212-210-9400
                                                    Fax: 212-210-9444
                                                    alex.yanos@alston.com
                                                    carlos.ramos-mrosovsky@alston.com

                                                    Counsel for Koch Minerals Sàrl and Koch
                                                    Nitrogen International Sàrl




                                                2
